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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO: 23-CR-80101-CANNON

  UNITED STATES OF AMERICA,

  vs.

  CARLOS DE OLIVEIRA,
                       Defendant.
  _____________________________/

                            NOTICE OF COMPLIANCE

        Larry Donald Murrell, Jr. hereby files this Notice of Compliance pursuant to

  the Court’s Paperless Order entered on August 11, 2023 (DE#114), which required

  “all new counsel of record who do not already possess a required security clearance

  shall initiate and complete all tasks as directed by the Litigation Security Group of

  the U.S. Department of Justice, and thereafter file a Notice of Compliance no later

  than August 23, 2023.”

        This Notice is to certify that Counsel has received confirmation from

  Litigation Security Group that all outstanding applicant tasks required to proceed

  with initiating the background investigation have been completed.
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                                         /s Larry Donald Murrell, Jr.
                                   __________________________________
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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 22, 2023, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record or pro se

  parties identified on the attached Service List in the manner specified, either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                         /s Larry Donald Murrell, Jr.
                                   ____________________________________
                                   LARRY DONALD MURRELL, JR., ESQ.

                                    SERVICE LIST

                       U.S.A. vs. CARLOS DE OLIVEIRA
                       CASE NO: 23-CR-80101-CANNON
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
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  Generated by CM/ECF




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